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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
JANE DOE,                           )
                                    )
                    Plaintiff,      )
                                    )
v.                                  )         Civil Action
                                    )         No. 25-cv-10904-PBS
KRISTI NOEM, Secretary of           )
the U.S. Department of Homeland     )
Security, U.S. DEPARTMENT OF        )
HOMELAND SECURITY, TODD LYONS,      )
Acting Director of U.S.             )
Immigration and Customs             )
Enforcement, and U.S.               )
IMMIGRATION AND CUSTOMS             )
ENFORCEMENT,                        )
                                    )
                    Defendants.     )
______________________________      )


                                         ORDER

                                  April 15, 2025

Saris, D.J.

     After    a    hearing      and    upon   review    of   the   complaint,       the

application       for    a   temporary    restraining        order,     and   related

filings, and for good cause shown, the Court finds that Plaintiff

Jane Doe, a Massachusetts Institute of Technology student in

computer science, has demonstrated a likelihood of success on the

merits   of   her       claim   that    her   Student    and    Exchange      Visitor

Information System (“SEVIS”) status was unlawfully terminated in

violation of the Administrative Procedure Act, 5 U.S.C. §§ 701-

706, because Plaintiff has shown that there were no grounds for


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termination under 8 C.F.R. §§ 214.1–.2. Plaintiff has also shown

that she is likely to suffer irreparable harm not compensable by

money damages -- namely, that she will be unable to sit for exams

necessary to complete her degree and faces a credible threat of

arrest and removal as a result of the revocation of her F-1 student

visa. As the email from the United States Department of State,

dated April 14, 2025, warns Plaintiff: “[r]emaining in the United

States without a lawful immigration status can result in fines,

detention, and/or deportation,” and she “may be sent to countries

other    than   [her]   countr[y]    of    origin.”     Dkt.    9-2.   Finally,

Plaintiff has demonstrated that the balance of hardships and the

public interest weigh in favor of temporary injunctive relief. The

government has not demonstrated any harm from allowing her to

graduate in six weeks.

     For the foregoing reasons, and pursuant to Federal Rule of

Civil Procedure 65 and 5 U.S.C. § 705, it is hereby ORDERED that

Defendants Kristi Noem, Todd Lyons, and any agents acting under

their authority or control are temporarily restrained from: (1)

arresting or detaining Plaintiff under 8 U.S.C. § 1226(a), or

removing her for being unlawfully present in the United States

without legal status, based on the revocation of her F-1 visa or

the termination of her SEVIS status; (2) terminating Plaintiff’s

SEVIS status; (3) if Plaintiff is arrested or detained, from

transferring her outside the Districts of Massachusetts, until

                                       2
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5:00 p.m. on Wednesday, April 23, 2025, when the next hearing on

the preliminary injunction will be held. This order is subject to

such further extension by the Court as may be appropriate.



SO ORDERED.

                                        /s/ PATTI B. SARIS__________
                                        Hon. Patti B. Saris
                                        United States District Judge




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